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A0245D       (Rev. 09/11) Judgment in a Criminal Case for Revocations
             Sheet 1



                                     UNITED STATES DISTRICT COURT
                                                         Eastern District of Arkansas                                                       RK
         UNITED STATES OF AMERICA                                       Judgment in a Criminal Case
                      v.                                                (For Revocation of Probation or Supervised Release)
                Austin Snyder

                                                                        Case No. 4:14-cr-211-DPM-13
                                                                        USM No. 28824-009
                                                                         Mark Alan Jesse
                                                                                                Defendant's Attorney
THE DEFENDANT:
~ admitted guilt to violation of condition(s)           Gen., Std. 7 & Spec. 1          of the term of supervision.
D   was found in violation of condition(s)            _ _ _ _ _ _ _ _ _ _ _ after denial of guilt.
The defendant is adjudicated guilty of these violations:


Violation Number                                           Nature of Violation                                 Violation Ended
1 (Gen.)                        Committing another federal, state, or local crime, a

                                Grade C violation                                                           02/28/2016
2 (Gen.) & 3 (Std. 7)           Using a controlled substance, a Grade C Violation                            02/29/2016

                                (continued on next page
       The defendant is sentenced as provided in pages 2 through _ _5_ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D   The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notifv the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully pa~d. ~f ordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 3512                      04/21/2016
                                                                                           Date of Imposition of Judgment
Defendant's Year of Birth:          1995

City and State of Defendant's Residence:                                                          'ture of Judge
North Little Rock, Arkansas
                                                                         D.P. Marshall Jr.                            U.S. District Judge
                                                                                               Name and Title of Judge


                                                                                                        Date
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                                                     ADDITIONAL VIOLATIONS

                                                                                                              Violation
Violation Number              Nature of Violation                                                             Concluded
4 (Spec. 1)                   Failing to participate in substance-abuse treatment, a Grade C violation        02/19/2016
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  AO 245D       (Rev. 09/11) Judgment in a Criminal Case for Revocations
                Sheet 2- Imprisonment

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                                                                    IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
  total term of :
6 months.




     t/ The court makes the following recommendations to the Bureau of Prisons:
1) designation to FCI Texarkana to facilitate family visitation.




     t/ The defendant is remanded to the custody of the United States Marshal.
     D      The defendant shall surrender to the United States Marshal for this district:
            D     at   --------- D                          a.m.      D    p.m.    on
            D     as notified by the United States Marshal.

     D      The defendant shall surrender for seivice of sentence at the institution designated by the Bureau of Prisons:
            D    before 2 p.m. on
            D     as notified by the United States Marshal.
            D     as notified by the Probation or Pretrial Seivices Office.

                                                                           RETURN

  I have executed this judgment as follows:




            Defendant delivered on                                                        to

  at - - - - - - - - - - - - - - with a certified copy of this judgment.




                                                                                               UNITED STATES MARSHAL



                                                                                  By - - - - - - - -UNITED
                                                                                             DEPUTY  - - -STATES
                                                                                                           - - -MARSHAL
                                                                                                                 --------
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              Sheet 3 - Supervised Release
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  DEFENDANT: Austin Snyder
  CASE NUMBER: 4:14-cr-211-DPM-13
                                                             SUPERVISED RELEASE

  Upon release from imprisonment, the defendant shall be on supervised release for a term of :
6 months.



           The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
  from the custody of the Bureau of Prisons.
  The defendant shall not commit another federal, state or local crime.
  The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
  substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ana at least two periodic drug
  tests thereafter as determined by the court.
  D     The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
  rt/ The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
  't/ The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
  D     The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
        or is a student, as directed by the probation officer. (Check, if applicable.)
  D     The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
           If this judgipent imposes a fine or restitution, it is be a condition of supervised release that the defendant pay in accordance
  with the Schedule of Payments sheet of this judgment.
           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
  conditions on the attached page.

                                            STANDARD CONDITIONS OF SUPERVISION
  1)        the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)        the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)        the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
            officer;
  4)        the defendant shall support his or her dependents and meet other family responsibilities;
  5)        the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training,
            or other acceptable reasons;
  6)        the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
            controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)        the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)        the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
            convicted of a felony, unless granted permission to do so by the probation officer;
  10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
            confiscation of any contraband observed in plain view of the probation officer;
  11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
            enforcement officer;
  12)       th~ defendant sha}l ~ot enter into any agreement to act as an informer or a special agent of a law enforcement agency
            without the permiss10n of the court; and
  13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
            defendant's criminal record or personal history or characteristics and shall permit the probation officer to make such
            notifications and to confirm the defendant's compliance with such notification requirement.
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           Sheet 3C - Supervised Release
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                                            SPECIAL CONDITIONS OF SUPERVISION

S1) Snyder must spend the first 30 days of supervision in intensive inpatient drug treatment. Snyder must spend the
remaining five months of supervision in chemical-free living. The Court recommends that Snyder be placed at Freedom
House in Rusellvillle for both the inpatient treatment component and the chemical-free living component of his supervision.
Snyder must abide by all rules of the treatment program and chemical-free living facility.
